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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION

OLIVIA Y., et al.,                            )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )             3:04-CV-251-HSO-FKB
                                              )
TATE REEVES, as Governor of the               )
State of Mississippi, et al,                  )
                                              )
       Defendants.                            )



       NOTICE OF WITHDRAWAL OF PLAINTIFFS’ MOTION FOR
                  ATTORNEYS’ FEES AND EXPENSES


       PLEASE TAKE NOTICE THAT Plaintiffs hereby withdraw their Motion

for Attorneys’ Fees and Expenses (“Motion”), filed on July 27th, 2022, because the

Motion is now Moot. See Dkt. 933.

        On July 27th, 2022, at 2:51 p.m. CST, Plaintiffs’ counsel, A Better Childhood

(“ABC”), received notice from Defendants that payment for this period would be

mailed later that day. See Declaration of Marcia Lowry, ¶ 2, attached as Exhibit A.

ABC attorneys were unable to confer with local Plaintiffs’ counsel, Bradley Arant

Boult Cummings LLP, before the latter filed the Motion that same day at 4:53 p.m.

CST. Id at ¶ 3. On August 4, 2022, Plaintiffs deposited Defendants’ payment. Id at

¶ 4.

       For purposes of this Motion, the issue of payment is, thus, resolved.

Accordingly, the pending Motion is moot. However, the parties still disagree on the
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timing of future payments. Defendants contend that payments should be made

through legislative appropriations. See Dkt. 934 at pg. 2. Plaintiffs’ position,

however, is that this Court has sole authority to determine the time of payment.

Plaintiffs most recently briefed this issue in their Memorandum at Dkt. 925, and

incorporate that argument here.

      This withdrawal is thus made without prejudice to Plaintiffs’ continued

position that all future attorneys’ fees payments be made in a timely matter,

without reference to Mississippi’s legislative appropriation process.

      RESPECTFULLY SUBMITTED, this 17th day of August 2022.


                                               /s/ Marcia Robinson Lowry
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will deliver copies to all counsel of record.


                                                     /s/ Marcia Robinson Lowry
                                                     Marcia Robinson Lowry (pro hac vice)




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